     Case 2:11-cr-00015-LDG-PAL      Document 192      Filed 10/04/13   Page 1 of 1




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 7                         UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11         Plaintiff,                            Case No. 2:11-cr-00015-LDG (PAL)

12   v.                                          ORDER

13   JOHN BIRMELE,

14         Defendant.

15

16         For good cause shown,

17         THE COURT ORDERS that the Government’s Motion for Reconsideration and

18   Opposition to Defendant’s Motion for Early Termination of Supervised Release (#189) is

19   DENIED.

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21   DATED this ______ day of October, 2013.
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23                                                           Lloyd D. George
                                                             United States District Judge
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